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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA NO. CR23-179RAJ
Plaintitt, PLEA AGREEMENT
Vv.
CHANGPENG ZHAO,
Defendant.

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(A), the United States of
America, by and through the Department of Justice, Criminal Division, Money
Laundering and Asset Recovery Section (““MLARS”); the Department of Justice,
National Security Division, Counterintelligence and Export Control Section; and the
United States Attorney’s Office for the Western District of Washington (collectively the
“Offices”), and the Defendant, CHANGPENG ZHAO (the “Defendant”), by and through
his undersigned attorneys hereby submit and enter into this plea agreement (the

“Agreement”). The terms and conditions of this Agreement are as follows.

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1. Waiver of Indictment. Defendant, having been advised of the right to be
charged by Indictment, agrees to waive that right and enter a plea of guilty to the charge
brought by the United States Attorney in an Information.

2. The Charge. Defendant, having been advised of the right to have this
matter tried before a jury, agrees to waive that right and enters a plea of guilty to the
following charge contained in the Information: Failure to maintain an effective anti-
money laundering (“AML”) program, as charged in Count 1, in violation of Title 31,
United States Code, Sections 5318(h), 5322(b), 5322(c), and 5322(e); Title 18, United
States Code, Section 2; and Title 31, Code of Federal Regulations, Section 1022.210.

By entering a plea of guilty, Defendant hereby waives all objections to the form of
the charging document. Defendant further understands that before entering any guilty
plea, Defendant will be placed under oath. Any statement given by Defendant under oath
may be used by the Offices in a prosecution for perjury or false statement.

3. Elements of the Offense. The elements of the offense of failure to
maintain an effective AML program, as charged in Count 1, in violation of Title 31,
United States Code, Sections 5318(h) and 5322(b), 5322(c), 5322(e); Title 18, United
States Code, Section 2; and Title 31, Code of Federal Regulations, Section 1022.210 are
as follows:

a. A covered financial institution, to wit, a money services business
(“MSB”), failed to develop, implement, and maintain an effective AML program;

b. The defendant aided and abetted and caused the MSB to fail to
develop, implement, and maintain an effective AML program; and

C. The defendant acted willfully.

4. The Penalties. Defendant understands that the statutory penalties
applicable to the offense of failure to maintain an effective AML program, as charged in
Count 1, in violation of Title 31, United States Code, Sections 5318(h) and 5322(b),
5322(c), 5322(e); Title 18, United States Code, Section 2; and Title 31, Code of Federal

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Regulations, Section 1022.210 are as follows: a maximum term of imprisonment of up to
ten (10) years, a fine of up to $500,000 and, in addition, a fine equal to the profit gained
by Defendant by reason of the offense, a period of supervision following release from
prison of up to three (3) years, and a mandatory special assessment of $100 dollars. Ifa
probationary sentence is imposed, the probation period can be for up to five (5) years.

Defendant understands that supervised release is a period of time following
imprisonment during which Defendant will be subject to certain restrictive conditions and
requirements, Defendant further understands that, if supervised release is imposed and
Defendant violates one or more of the conditions or requirements, Defendant could be
returned to prison for all or part of the term of supervised release that was originally
imposed. This could result in Defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

Defendant understands that as a part of any sentence, in addition to any term of
imprisonment and/or fine that is imposed, the Court may order Defendant to pay
restitution to any victim of the offense, as required by law.

The Offices and Defendant agree to recommend that the Court impose a fine in the
amount of $50,000,000 in United States Currency pursuant to 31 U.S.C. § 5322(e) (the
“Recommended Fine”). The Offices agree to credit the Recommended Fine against the
amount the Defendant pays to the Commodity Futures Trading Commission (the
“CFTC”) in connection with CFTC v. Changpeng Zhao et al, 23 Civ. 1887 (N.D. IIL.
2023) so long as the Defendant pays the amount of the Recommended Fine to the CFTC
by the date of the Defendant’s sentencing. The Offices and Defendant also agree that the
Recommended Fine is appropriate in light of the factors set forth in 18 U.S.C. § 3553(a)
and 3572(a).

Defendant agrees that any other monetary penalty the Court may impose,

including the special assessment, costs, or restitution, is due and payable immediately and

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further agrees to submit a completed Financial Disclosure Statement as requested by the
Offices.

Defendant understands that, if pleading guilty to a felony drug offense, Defendant
will become ineligible for certain food stamp and Social Security benefits as directed by
Title 21, United States Code, Section 862a.

5. Immigration Consequences. Defendant recognizes that pleading guilty
may have consequences with respect to Defendant’s immigration status if Defendant is
not a citizen of the United States. Under federal law, a broad range of crimes are grounds
for removal, and some offenses make removal from the United States presumptively
mandatory. Removal and other immigration consequences are the subject of a separate
proceeding, and Defendant understands that no one, including Defendant’s attorney and
the Court, can predict with certainty the effect of a guilty plea on immigration status.
Defendant nevertheless affirms that Defendant wants to plead guilty regardless of any
immigration consequences that Defendant’s guilty plea(s) may entail, even if the
consequence is Defendant’s mandatory removal from the United States.

6. Rights Waived by Pleading Guilty. Defendant understands that by
pleading guilty, Defendant knowingly and voluntarily waives the following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to a speedy and public trial before a jury of Defendant’s
peers;

C. The right to the effective assistance of counsel at trial, including, if
Defendant could not afford an attorney, the right to have the Court appoint one for
Defendant;

d. The right to be presumed innocent until guilt has been established

beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against Defendant
at trial;
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f. The right to compel or subpoena witnesses to appear on Defendant’s
behalf at trial;

g. The right to testify or to remain silent at trial, at which trial such
silence could not be used against Defendant; and

h. The right to appeal a finding of guilt or any pretrial rulings.

7. United States Sentencing Guidelines. Defendant understands and
acknowledges that the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines and possible departures under the Sentencing
Guidelines together with the other factors set forth in Title 18, United States Code,
Section 3553(a), including: (1) the nature and circumstances of the offense; (2) the
history and characteristics of Defendant; (3) the need for the sentence to reflect the
seriousness of the offense, to promote respect for the law, and to provide just punishment
for the offense; (4) the need for the sentence to afford adequate deterrence to criminal
conduct; (5) the need for the sentence to protect the public from further crimes of
Defendant; (6) the need to provide Defendant with educational and vocational training,
medical care, or other correctional treatment in the most effective manner; (7) the kinds
of sentences available; (8) the need to provide restitution to victims; and (9) the need to
avoid unwarranted sentence disparity among defendants involved in similar conduct who
have similar records. Accordingly, Defendant understands and acknowledges that:

a. The Court will determine Defendant’s Sentencing Guidelines range
at the time of sentencing;
b. After consideration of the Sentencing Guidelines and the factors in
Title 18, United States Code, Section 3553(a), the Court may impose any sentence
authorized by law, up to the maximum term authorized by law;
C. The Court is not bound by any recommendation regarding the

sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines

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range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Agreement; and

d. Defendant may not withdraw a guilty plea solely because of the
sentence imposed by the Court.

8. Ultimate Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose. The Offices reserve the right to argue
for an above-Guidelines sentence, and Defendant reserves the right to argue for a below-
Guidelines sentence.

9. Statement of Facts. Defendant is pleading guilty because he is guilty of
the charge contained in the Information. Defendant admits, agrees, and stipulates that the
factual allegations set forth in the Information and the Statement of Facts are true and
correct, and that the Information and Statement of Facts accurately reflect Defendant’s
criminal conduct. Defendant stipulates to the admissibility of the Statement of Facts in
any proceeding by the Offices, including any trial, guilty plea, or sentencing proceeding,
and will not contradict anything in the Statement of Facts at any such proceeding.
Defendant admits Defendant is guilty of the charged offense. The parties agree on the
following facts:

a. Overview: Starting at least as early as August 2017 and continuing to
at least October 2022, Defendant Changpeng Zhao violated the Bank Secrecy Act
(“BSA”) by willfully causing Binance Holdings Limited (“Binance” or “the Company”)
to fail to implement and maintain an effective AML program. Defendant prioritized
Binance’s growth, market share, and profits over compliance with the BSA. Binance
facilitated billions of dollars of cryptocurrency transactions on behalf of its customers
without implementing appropriate “know your customer” (“KYC”) procedures or
conducting adequate transaction monitoring. As a result of Defendant’s willful failure to

implement an effective AML program, Binance processed transactions involving

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proceeds of illegal activity and caused transactions between U.S. persons and persons in
jurisdictions that are subject to comprehensive U.S. sanctions.

b. The Bank Secrecy Act: Binance was a foreign-located MSB that did
business in the United States, including by providing services to a substantial number of
U.S. customers. As an MSB, Binance was required to register with the Department of the
Treasury’s Financial Crimes Enforcement Network (“FinCEN”) and to implement and
maintain an effective AML program pursuant to the BSA, 31 U.S.C. §5311 et seg. An
effective AML program is one that is reasonably designed to prevent the MSB from
being used to facilitate money laundering and the financing of terrorist activities and
includes, among other things, policies, procedures, and internal controls for customer
identification (i.e., KYC), transaction monitoring, and identifying and reporting
suspicious transactions.

C. Under U.S. laws, U.S. persons are prohibited from conducting
transactions with entities and persons subject to U.S. sanctions, including persons who
are present in jurisdictions subject to comprehensive U.S. sanctions. Comprehensive U.S.
sanctions prohibit U.S. persons broadly from conducting commercial activity with
persons in certain specified regions, for example, Iran. An effective AML program
would, among other things, have measures in place, such as KYC and transaction
monitoring, that could prevent transactions between U.S. persons and persons in
jurisdictions that are subject to comprehensive U.S. sanctions. Many MSBs, particularly
those doing business wholly or in substantial part in the United States, have sanctions
compliance programs to ensure that they do not violate or cause a violation of U.S.
sanctions.

d. Binance: Defendant founded Binance in June 2017 and, as its chief
executive officer, exercised day-to-day control over its operations. Binance.com was an
online exchange through which millions of customers around the world bought and sold

hundreds of virtual assets. Binance had U.S. customers and tracked the exchange’s

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progress in securing new customers from various geographies, including the United
States. Between June 2017 and into 2022, more than a million U.S. retail users conducted
more than 20 million deposit and withdrawal transactions worth $65 billion. These users
conducted more than 900 million spot trades worth more than $550 billion. Over this
same period, Binance relied on U.S. trading firms to make markets on the exchange and
provide needed liquidity, thereby making various digital assets available to trade by other
customers at competitive prices. This helped Binance grow into the largest
cryptocurrency exchange in the world.

e. Defendant understood that because Binance served a substantial
number of U.S. users, it was required to register with FinCEN as an MSB and therefore
required under the BSA to implement an effective AML program. Nonetheless, Binance
did not register with FinCEN as an MSB at any time or implement an effective AML
program in the relevant period.

f. Defendant prioritized Binance’s growth and profits over compliance
with U.S. law, telling Binance employees that it was “better to ask for forgiveness than
permission” in what he described as a “grey zone.” Defendant knew that U.S. users were
essential for Binance to grow, were a significant source of revenue, and had a substantial
network effect. As more customers conducted transactions on Binance, the exchange
became increasingly attractive to other customers, generating additional revenue for
Binance. Defendant sought those benefits for the Company while disregarding the legal
obligation to implement an effective AML program.

g. Defendant willfully violated the BSA by causing Binance to have
an ineffective AML program: During the relevant period, Defendant willfully violated
the BSA by causing Binance to fail to implement and maintain an effective AML
program. In particular, Binance failed to collect or verify KYC information from a large

share of its users, including users in the Western District of Washington; failed to

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systematically monitor transactions; and failed to file suspicious activity reports (“SAR”)
with FinCEN as required by the BSA.

h. Defendant believed that requiring all customers to provide KYC
information would mean that some customers would choose not to use Binance and
others would be rejected by the compliance process—both of which would interfere with
Binance gaining market share. As a result, before August 2021, Binance allowed a
significant portion of its customers to create accounts and trade on the exchange without
providing identifying information.

1. For example, from Binance’s inception in 2017 until about
August 2021, a Binance user could open an account known as a “Level 1” or “Tier 1”
account by simply providing an email address and password; Binance required no other
information, such as the user’s name, citizenship, residential address, or government
identification.

il. Once the Level 1 account was active, the user could deposit
and trade an unlimited amount of virtual currency. Although a Level 1 account user could
withdraw value up to only 2 Bitcoin (“BTC”) per day, a user could evade the withdrawal
limit by opening multiple Level 1 accounts using different email addresses. And for most
of Binance’s existence, even if a user adhered to the withdrawal limit on a single account,
the user could still withdraw thousands—and sometimes tens of thousands—of dollars in
total value of cryptocurrency per day.

ili. For example, on December 15, 2018, at about its lowest value
during Binance’s existence, 2 BTC were worth $6,279.70. On April 15, 2021, at around
Bitcoin’s highest value during the period that Binance offered Level 1 accounts, 2 BTC
were worth about $127,411.60.

iv. On certain occasions, Binance identified users who appeared

to be involved in illicit activity but allowed the users to continue to use the exchange

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because they were “VIPs,” advising them to avoid transferring funds from sources that
Binance identified as high risk.

Vv. In 2019, Binance amended its Terms of Use to prohibit users
from opening multiple active accounts. However, for any accounts opened before August
2021, Binance did not have effective KYC controls in place to enforce the Terms of Use.

i. Binance’s AML program did not systematically monitor
transactions, as required by the BSA and its implementing regulations. And while
Binance developed an internal process for flagging suspicious activity, Binance never
filed a SAR with FinCEN.

j- Because Binance during the relevant period did not require all users
to complete KYC and did not have procedures to systematically monitor transactions and
report suspicious activity, Binance lacked effective controls to prevent it from processing
transactions involving proceeds of illicit activity on behalf of its customers.

k. Defendant understood that U.S. law prohibits U.S. persons from
conducting certain financial transactions with countries, persons, or entities sanctioned by
the U.S. government. Defendant knew that both U.S. users and users in comprehensively
sanctioned jurisdictions were on the Binance exchange. Binance employees, including
Binance’s chief compliance officer, specifically warned Defendant that there were users
from sanctioned countries on Binance’s exchange and about the U.S. legal risks
associated with transactions involving such customers, with the chief compliance officer
once describing it to Defendant as the chief compliance officer’s “duty to constantly
remind” Defendant and others of this risk. On another occasion, in a chat thread that
included Defendant, a Binance employee informed senior Binance officials that the chief
financial officer of another company had been arrested for sanctions violations and

warned that this could happen to Binance.

I. Defendant knew a BSA-compliant, effective AML program, with
appropriate K YC and transaction monitoring procedures, was important to detect,
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prevent, and report criminal activity at financial institutions and that effective AML
compliance programs with appropriate K YC procedures could make it possible to block
transactions between U.S. users and users from comprehensively sanctioned jurisdictions,
as well as individuals and entities that are sanctioned under programs that are not
country-specific, i.e., specially designated nationals (“SDNs”). For example, Binance’s
chief compliance officer told Defendant and other senior Binance employees that it was
imperative to block trades by users who were logged in using an internet protocol (“IP”)
address associated with a comprehensively sanctioned jurisdiction, even if those users
had provided KYC documents from a non-sanctioned country. He noted that both “IP +
KYC” are factors for sanctions. Later in the chat, the chief compliance officer noted that
“Iran, North Korea, Syria, Cuba and Crimea... . ***They present the highest risk in [the
Department of Treasury’s Office of Foreign Assets Control (“(OFAC”)]***.”

m. Defendant nonetheless did not direct Binance to implement controls,
including appropriate KYC, that would have prevented Binance from matching U.S.
users with users subject to U.S. sanctions to conduct cryptocurrency transactions. As a
result, Binance would continue to allow a customer to trade on the exchange using an IP
address from a comprehensively sanctioned jurisdiction if that user had submitted KYC
documents from a non-sanctioned jurisdiction. It was reasonably foreseeable to
Defendant and others that Binance’s matching engine—the tool that matched customer
bids and offers to execute cryptocurrency trades—would match U.S. users with
counterparties in comprehensively sanctioned jurisdictions. Indeed, without an effective
AML program and controls, Binance caused transactions between these U.S. users and
users in comprehensively sanctioned jurisdictions. These transactions were a clear and
foreseeable result of Defendant’s decision to prioritize profit and growth over compliance
with the BSA.

n. Under Defendant’s direction, Binance permitted any customer to use

its exchange without completing KYC until August 2021. In August 2021, Binance

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publicly announced it would require all users to undergo full KYC. Even after that
announcement, however, the Company allowed a considerable share of Binance’s users
to use Binance without KYC until May 2022. Moreover, until at least October 2022,
Binance allowed users to trade on the exchange through third-party “brokers” without
submitting any KYC information to Binance.

0. Between August 2017 and October 2022, Binance caused, according
to its own data, at least $890 million in transactions between U.S. users and users
Binance identified as Iranians; and millions more in transactions between U.S. users and
users in other comprehensively sanctioned jurisdictions, including Cuba, Syria, and the
Ukrainian regions of Crimea, Donetsk, and Luhansk.

p. Binance profited significantly from its violations of law: Defendant
and Binance prioritized Binance’s growth over compliance with the BSA. As a result,
Binance earned significant fees from U.S. customers without implementing an effective
risk-based AML program that would protect customers, the U.S. financial system, and
Binance from transactions involving illicit funds. In particular, Binance earned significant
fees on transactions between U.S. customers and customers in comprehensively
sanctioned jurisdictions.

The parties agree that the Court may consider additional facts contained in the
Presentence Report (subject to standard objections by the parties) and/or that may be
presented by the Offices or Defendant at the time of sentencing, and that the factual
statement contained herein is not intended to limit the facts that the parties may present to
the Court at the time of sentencing.

10. Sentencing Factors. The parties agree that the following Sentencing

Guidelines provisions apply to this case:

a. A base offense level of 8, pursuant to USSG § 281.3(a)(1);

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b. A two-level increase for a conviction of an offense under Chapter 53
of Title 31, United States Code, and involving more than $100,000 in a twelve-month
period, pursuant to USSG § 2S81.3(b)(2); and

C. A four-level increase to the base offense level for aggravating role
pursuant to USSG § 3B1.1(a).

The parties agree they are free to present arguments regarding the applicability of
a two-level increase for proceeds of unlawful activity pursuant to USSG § 281.3(b)(1).
The parties further agree that they will seek no other adjustments in determining
Defendant’s Sentencing Guidelines range. Defendant understands, however, that at the
time of sentencing, the Court is free to reject these stipulated adjustments and is further
free to apply additional downward or upward adjustments in determining Defendant’s
Sentencing Guidelines range.

11. Acceptance of Responsibility. At sentencing, if the Court concludes
Defendant qualifies for a downward adjustment for acceptance of responsibility pursuant
to USSG § 3E1.1(a) and Defendant’s offense level is 16 or greater, the Offices will make
the motion necessary to permit the Court to decrease the total offense level by three (3)
levels pursuant to USSG §§ 3E1.1(a) and (b), because Defendant has assisted the Offices
by timely notifying the Offices of Defendant’s intention to plead guilty, thereby
permitting the Offices to avoid preparing for trial and permitting the Court to allocate its
resources efficiently.

12. Fine. The parties agree to recommend to the Court that an appropriate fine
pursuant to 31 U.S.C. § 5322(¢)(1) is $50 million. The government agrees that it will
deem this fine satisfied by payment to the Commodity Futures Trading Commission of
$50 million, provided such payment is made by the time of sentencing.

13. Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
the Offices agree not to bring further criminal charges against Defendant relating to the

conduct described in the Statement of Facts or the Information filed pursuant to this

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Agreement or relating to the conduct described in the Statement of Facts or the
Information filed on the same day pursuant to the plea agreement in United States v.
Binance. In this regard, Defendant recognizes the Offices have agreed not to prosecute all
of the criminal charges the evidence establishes were committed by Defendant solely
because of the promises made by Defendant in this Agreement. Defendant agrees,
however, that for purposes of preparing the Presentence Report, the Offices will provide
the United States Probation Office with evidence of all conduct committed by Defendant.
This Agreement does not provide any protection against, and the Offices may also use
any information related to the conduct described in the Statement of Facts against
Defendant in, any prosecution or other proceeding relating to (a) obstruction of justice;
(b) perjury or making a false statement; (c) any crime of violence; (d) a violation of any
provision set forth in Chapter 113B of Title 18 of the United States Code; or (e) a
violation of any provision of Title 26 of the United States Code.

14. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that, if
Defendant breaches this Agreement: (a) the Offices may withdraw from this Agreement
and Defendant may be prosecuted for all offenses for which the Offices have evidence:
(b) Defendant will not oppose any steps taken by the Offices to nullify this Agreement,
including the filing of a motion to withdraw from the Agreement; and (c) Defendant
waives any objection to the re-institution of any charges that previously were dismissed
or any additional charges that had not been prosecuted.

Defendant further understands that if, after the date of this Agreement, Defendant
should engage in illegal conduct, or conduct that violates any conditions of release or the
conditions of confinement (examples of which include, but are not limited to, obstruction
of justice, failure to appear for a court proceeding, criminal conduct while pending
sentencing, and false statements to law enforcement agents, the Pretrial Services Officer,
Probation Officer, or Court), the Offices are free under this Agreement to file additional

charges against Defendant or to seek a sentence that takes such conduct into

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consideration by requesting the Court to apply additional adjustments or enhancements in
its Sentencing Guidelines calculations in order to increase the applicable advisory
Guidelines range, and/or by seeking an upward departure or variance from the calculated
advisory Guidelines range. Under these circumstances, the Offices are free to seek such
adjustments, enhancements, departures, and/or variances even if otherwise precluded by
the terms of the Agreement.

Defendant also agrees that, effective as of the date Defendant signs this
Agreement, and notwithstanding any other subsequent event, including but not limited to
Defendant’s failure to plead guilty, the Court’s refusal to accept Defendant’s guilty plea,
or Defendant’s withdrawal (or attempted withdrawal) of his guilty plea, the Statement of
Facts set forth in this Agreement shall be admissible against Defendant in any criminal
case involving the Offices and Defendant as: (a) substantive evidence offered by the
Offices in their case-in-chief and rebuttal case; (b) impeachment evidence offered by the
Offices on cross-examination; and (c) evidence at any sentencing hearing or other
hearing. In addition, Defendant also agrees not to assert any claim under the Federal
Rules of Evidence (including Rule 410), the Federal Rules of Criminal Procedure
(including Rule 11), or the United States Sentencing Guidelines (including USSG §
1B1.1(a)) that the Statement of Facts set forth in this Agreement should be suppressed or
is otherwise inadmissible as evidence (in any form).

15. Waiver of Appellate Rights and Rights to Collateral Attacks. Defendant
acknowledges that, by entering the guilty plea required by this Agreement, Defendant
waives all rights to appeal from Defendant’s conviction as well as any pretrial rulings of
the Court and any rulings of the Court made prior to entry of the judgment of conviction.
Defendant further agrees that, provided the Court imposes a custodial sentence that does
not exceed eighteen (18) months, Defendant waives to the full extent of the law:

a. Any right conferred by Title 18, United States Code, Section 3742,

to challenge, on direct appeal, the sentence imposed by the Court, including any fine,

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restitution order, probation or supervised release conditions, or forfeiture order (if
applicable); and

b. Any right to bring a collateral attack against the conviction and
sentence, including any restitution order imposed, except as it may relate to the
effectiveness of legal representation.

This waiver does not preclude Defendant from bringing an appropriate motion
pursuant to Title 28, United States Code, Section 2241 to address the conditions of
Defendant’s confinement or the decisions of the Bureau of Prisons regarding the
execution of Defendant’s sentence.

It Defendant breaches this Agreement at any time by appealing or collaterally
attacking (except as to effectiveness of legal representation) the conviction or sentence in
any way, the Offices may prosecute Defendant for any counts, including those with
mandatory minimum sentences, that were dismissed or not charged pursuant to this Plea
Agreement.

16. Voluntariness of Plea. Defendant agrees that Defendant has entered into
this Agreement freely and voluntarily, and that no threats or promises were made to
induce Defendant to enter a plea of guilty other than the promises contained in this
Agreement or set forth on the record at the change of plea hearing in this matter.

17. Statute of Limitations. In the event that this Agreement is not accepted by
the Court for any reason, or if Defendant breaches any of the terms of this Agreement, the
statute of limitations shall be deemed to have been tolled from the date of the Agreement
to: (1) three (3) months following the date of non-acceptance of the Agreement by the
Court; or (2) three (3) months following the date on which a breach of the Agreement by
Defendant is discovered by the Offices.

18. Public Statements by Defendant. Defendant expressly agrees that he shall
not—either directly or through present or future attorneys, agents, or any other person

authorized to speak for Defendant—make any public statement, in litigation or otherwise,

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contradicting the acceptance of responsibility by Defendant set forth above, the facts
described in the Information and Statement of Facts, or the facts described in the
Statement of Facts in United States v. Binance Holdings Limited.

19. Completeness of Agreement. The Offices and Defendant acknowledge
that these terms constitute the entire Agreement between the parties, except as may be set
forth on the record at the change of plea hearing in this matter or as may be presented to
the Court. This Agreement binds only the Criminal Division, U.S. Department of Justice;
National Security Division, U.S. Department of Justice; and U.S. Attorney’s Office for
the Western District of Washington. It does not bind any other United States Attorney’s

Office, any other office or eA) of the United States, or any state or local prosecutor.

Dated thisAstday of
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CHANGPENG ZHAO

Defendant
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BENJAMIN A. NAFTALIS
Attorney for Defendant

WILLIAM A. BURCK

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Attorney for Defendant
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FOR THE DEPARTMENT OF JUSTICE:

MARGARET A. MOESER

Acting Chief

Money Laundering and Asset Recovery
Section, Criminal Division

U.S. Department ef Justice

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